               Case 8-18-71748-ast            Doc 1085         Filed 01/20/23         Entered 01/20/23 09:58:54


                                   UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF NEW YORK
                                                            REGION 2


In re: ORION HEALTHCORP, INC., ET AL.,                            §                 Case No. 18-71748
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 12/31/2022                                                            Petition Date: 03/16/2018



Plan Confirmed Date:02/26/2019                                                       Plan Effective Date: 03/01/2019


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Howard M. Ehrenberg, Liquidating Truste
                                                                                  Name of Authorized Party or Entity




/s/Christopher R. Belmonte                                              C.R. Belmonte, Counsel for Liquidating Trustee
Signature of Responsible Party                                           Printed Name of Responsible Party
01/19/2023
                                                                        Duane Morris LLP
Date                                                                    230 Park Avenue, Suite 1130
                                                                        New York, NY 10169-0079
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




UST Form 11-PCR (12/01/2021)                                      1
                 Case 8-18-71748-ast                 Doc 1085         Filed 01/20/23          Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                                              Case No. 18-71748


Part 1: Summary of Post-confirmation Transfers

                                                                                                                       Total Since
                                                                                               Current Quarter        Effective Date

 a. Total cash disbursements                                                                         $9,979,477             $108,045,947
 b. Non-cash securities transferred                                                                           $0                     $0
 c. Other non-cash property transferred                                                                       $0                     $0
 d. Total transferred (a+b+c)                                                                        $9,979,477             $108,045,947

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved      Paid Current      Paid
                                                                              Current Quarter Cumulative       Quarter       Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $14,546,537             $0     $14,546,537
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        DLA Piper LLC (US)                 Other                                $0     $5,253,155             $0      $5,253,155
        ii       FTI Consulting, Inc.               Financial Professional               $0     $5,541,426             $0      $5,541,426
        iii      Hahn & Hessen LLP                  Local Counsel                        $0     $2,562,340             $0      $2,562,340
        iv       Pachulski Stang Ziehl & Jones Special Counsel                           $0       $875,252             $0       $875,252
        v        CBiz Accounting, Tax and Adv Financial Professional                     $0       $278,715             $0       $278,715
        vi       Epiq Corporate Restructuring L Other                                    $0        $35,648             $0         $35,648
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix


UST Form 11-PCR (12/01/2021)                                              2
                Case 8-18-71748-ast    Doc 1085   Filed 01/20/23   Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                Case No. 18-71748


       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
       lxii
       lxiii
       lxiv
       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi

UST Form 11-PCR (12/01/2021)                        3
                 Case 8-18-71748-ast                  Doc 1085      Filed 01/20/23       Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                                            Case No. 18-71748


       lxxii
       lxxiii
       lxxiv
       lxxv
       lxxvi
       lxxvii
       lxxviii
       lxxix
       lxxx
       lxxxi
       lxxxii
       lxxxiii
       lxxxiv
       lxxxv
       lxxxvi
       lxxxvi
       lxxxvi
       lxxxix
       xc
       xci
       xcii
       xciii
       xciv
       xcv
       xcvi
       xcvii
       xcviii
       xcix
       c
       ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i
       ii
       iii
       iv
       v
       vi


UST Form 11-PCR (12/01/2021)                                            4
                Case 8-18-71748-ast    Doc 1085   Filed 01/20/23   Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                Case No. 18-71748


       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii

UST Form 11-PCR (12/01/2021)                        5
                 Case 8-18-71748-ast   Doc 1085   Filed 01/20/23   Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                Case No. 18-71748


       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
       lxii
       lxiii
       lxiv
       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi
       lxxii
       lxxiii
       lxxiv
       lxxv
       lxxvi
       lxxvii
       lxxviii
       lxxix
       lxxx
       lxxxi
       lxxxii
       lxxxiii
       lxxxiv
       lxxxv
       lxxxvi
       lxxxvi
       lxxxvi
       lxxxix
       xc

UST Form 11-PCR (12/01/2021)                        6
                     Case 8-18-71748-ast              Doc 1085          Filed 01/20/23        Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                                                Case No. 18-71748


            xci
            xcii
            xciii
            xciv
            xcv
            xcvi
            xcvii
            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                        $0   $14,546,537              $0 $14,546,537

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                     % Paid of
                                                  Payments            Paid Current                                               Allowed
                                                 Under Plan             Quarter          Paid Cumulative    Allowed Claims        Claims
 a. Administrative claims                                   $33,743            $32,099            $55,099             $33,743       163%
 b. Secured claims                                  $55,579,004           $2,820,718          $75,495,446          $50,000,000       151%
 c. Priority claims                                        $261,819           $250,618           $250,618            $261,819         96%
 d. General unsecured claims                       $213,321,529           $5,379,440          $15,379,440         $213,321,529         7%
 e. Equity interests                                            $0                 $0                 $0


Part 4: Questionnaire
     a. Is this a final report?                                                                             Yes      No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         12/31/2024
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                   Yes      No




UST Form 11-PCR (12/01/2021)                                              7
               Case 8-18-71748-ast           Doc 1085        Filed 01/20/23         Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                                     Case No. 18-71748




                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/Howard M. Ehrenberg                                                Howard M. Ehrenberg
Signature of Responsible Party                                         Printed Name of Responsible Party
Liquidating Trustee                                                    01/19/2023
Title                                                                  Date




UST Form 11-PCR (12/01/2021)                                     8
            Case 8-18-71748-ast        Doc 1085      Filed 01/20/23       Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                       Case No. 18-71748




                                                          Page 1




                                                       Other Page 1




                                                  Page 2 Minus Tables




                                                  Bankruptcy Table 1-50



UST Form 11-PCR (12/01/2021)                              9
            Case 8-18-71748-ast        Doc 1085       Filed 01/20/23            Entered 01/20/23 09:58:54

Debtor's Name ORION HEALTHCORP, INC., ET AL.,                                             Case No. 18-71748




                                                  Bankruptcy Table 51-100




                                                  Non-Bankruptcy Table 1-50




                                                Non-Bankruptcy Table 51-100




                                                    Part 3, Part 4, Last Page




UST Form 11-PCR (12/01/2021)                                10
